Case 2:04-cr-20349-BBD Document 33 Filed 07/07/05 Page 1 of 6 Page|D 35

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MEMPH|S D|VlSlON 05 JUL _., PH leg 28

uNlTED sTATEs oF AMERch
M\i- G%M
-v- 2:04cR20349-01-B%UG§ K§B’M

DAV|D EUGENE MOORE
Doris Rand|e-Ho|t FPD
Defense Attorney
200 Jefferson, Ste. 200
Memphis, TN 38103

 

 

JUDGMENT |N A CRiM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on March 31, 2005. Accordinglyl
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Sectign Nature of Offense Offense Number(s)
Concluded
18 U.S.C. § 2422 Use of Computer/Te!ephone System 07/19/2004 1

for Purpose of Persuading Minor to
Engage in Sexual Acts

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 2 is dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ail iines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 03/25/1963 June 30, 2005
Deft’s U.S. Marshal No.: 19833-076

Defendant’s Mai|ing Address:
1170 Rd. 1451
Moorevi||e, MS 38857

      
  

BERN|C B. DONALD
UN|TED TATES D|STR|CT JUDGE

July Q . 200

This document entered on the docket s et
with Ru|e 55 and/or 32(b) FRCrP on

  

Case 2:04-cr-20349-BBD Document 33 Filed 07/07/05 Page 2 of 6 Page|D 36

Case No: 2:04CR20349-01 Defendant Name: David Eugene MOORE Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 60 Months.

The Court recommends to the Bureau of Prisons:
That the defendant participate in a sexual treatment program.

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 2:04-cr-20349-BBD Document 33 Filed 07/07/05 Page 3 of 6 PagelD 37

Case No: 2:04CR20349-0‘l Defendant Name: David Eugene MOORE Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be ori supervised release for
a term of 5 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearml ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic un'na|ysis tests as
directed by the probation officer to determine the use of any controlled substance;

T. The defendant shall riot frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20349-BBD Document 33 Filed 07/07/05 Page 4 of 6 PagelD 38

Case No: 2:04CR20349-01 Defendant Name: David Eugene MOORE Page 4 of 5

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement oft“icer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a line or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Cn'mina| Monetary Penaities sheet of thisjudgment.

ADD|T|ONAL CONDlTiONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

Change of address must be approved by the Probation Ofiicer;

The defendant must participate in specialized sex offender treatment program that may

include use of a plethysmograph and polygraph;

The defendant may not |oiter near school yards, piaygrounds, swimming poolsl arcades, or

other places frequented by children;

The defendant must abide by an evening curfew as set by the Probation Ofiicer;

The defendant shall cooperate with the collection of DNA as directed by the Probation

Ofiicer;

The defendant shall participate in substance abuse treatment and testing as directed by the

Probation Ofiicer;

The defendant shall not possess, or use, a computer with access to any “on-|ine computer

service” at any location without the prior approval of the Probation Ofiicer. This includes any

internet Service provider, bulletin board system or any other public or private network or e-

mai| system;

The defendant shall provide third party risk notihcation as directed by the Probation Ofiicer.

Case 2:04-cr-20349-BBD Document 33 Filed 07/07/05 Page 5 of 6 PagelD 39

Case No: 2:04CR20349~01 Defendant Name: David Eugene MOORE Page 5 of 5

CR|MINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in
accordance with the schedule of payments set forth in the Schedule of Payments.
The defendant shall pay interest on any fine or restitution of more than $2,500,
unless the fine or restitution is paid in full before the fifteenth day after the date of
judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options in the
Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$1 00.00

The Specia| Assessment shall be due immediately
F|NE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20349 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

